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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
______________________________________________________________________________
                                          )
ROBERTO ALMODOVAR, JR.                    )
                                          )
      Plaintiff,                          )
                                          )
      v.                                  )
                                          )     No.
REYNALDO GUEVARA,                         )
ERNEST HALVORSEN, MARK                    )
OLSZEWSKI, EDWARD MINGEY,                 )
and the CITY OF CHICAGO,                  )     JURY TRIAL DEMANDED
                                          )
      Defendants.                         )
                                          )

                                        COMPLAINT

       Plaintiff, ROBERTO ALMODOVAR, JR. by his undersigned attorney, for his complaint

against former Police Detectives, REYNALDO GUEVARA, ERNEST HALVORSEN, MARK

OLSZEWSKI, EDWARD MINGEY, and the CITY OF CHICAGO.

                                      INTRODUCTION

       1.     Plaintiff, Roberto Almodovar, Jr., spent 23 years incarcerated in the Illinois

Department of Corrections for the murders of Amy Merkes, Jorge Rodriguez, and the attempted

murders of Kennelly Saez and Jacqueline Grande – crimes he did not commit.

       2.     In and around September 4, 1994, the Police Officer Defendants – Reynaldo

GUEVARA, Ernest HALVORSEN, Mark OLSZEWSKI and Edward MINGEY – conspired

among themselves and with others, known and unknown, to prosecute Plaintiff for the murders

of Merkes and Rodriguez and attempted murders of Grande and Saez while indifferent to the fact

that he was innocent.
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       3.      All of the defendant officers concealed the fact that they had conspired to and did

frame Plaintiff for the murders by knowingly inducing false identification testimony from the

young and traumatized victims of the crime through manipulation, trickery, suggestion, pressure,

coercion, and other unlawful tactics.

       4.      No physical evidence connected Plaintiff to the crime and the defendant officers

knowingly ignored Plaintiff’s alibi that was verifiable through no fewer than seven witnesses.

Without the Defendants’ concealment of evidence, falsification of evidence, and manipulation of

witness testimony, Plaintiff would never have been convicted.

       5.      For over two decades, Plaintiff fought to prove his innocence while the defendant

officers continued to frame Latino men in the Humboldt Park area of Chicago until retiring with

their full police pension.

       6.      Finally, on April 14, 2017 (after an evidentiary hearing that lasted over two years)

the office of the Cook County State’s Attorney vacated Plaintiff’s convictions and moved for an

order to nolle prosequi the charges. That day, Plaintiff was released from custody. With no

objection from the State, the Honorable Chief Judge of the Criminal Division, Leroy Martin, Jr.,

granted Plaintiff a Certificate of Innocence on November 20, 2017.

       7.      Even before Plaintiff’s formal exoneration, the City of Chicago retained former

United States Attorney Scott Lassar and his firm Sidley & Austin to conduct an independent

investigation into GUEVARA’s conduct in a number of GUEVARA-related murder

investigations, including Plaintiff’s. The City, through their attorneys, concluded that Plaintiff

was probably innocent of the murders of Merkes and Rodriguez and attempted murders of

Grande and Saez.




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       8.      Sadly, Plaintiff is among a growing group of Latino men from Humboldt Park

who have proven that they were framed for crimes they did not commit at the hands of the

defendant officers. Just by way of example, defendants GUEVARA, HALVORSEN, and

MINGEY framed Armando Serrano and Jose Montanez for the 1993 murder of Rodrigo Vargas.

Serrano and Montanez were exonerated on July 20, 2016, following the Illinois Appellate

Court’s issuance of a pair of scathing decisions acknowledging GUEVARA’s pattern and

practice of misconduct. People v. Serrano, 2016 IL App (1st) 133493 (June 7, 2016) and People

v. Montanez, 2016 IL App (1st) 133726 (June 7, 2016). Serrano and Montanez received

Certificates of Innocence on November 2, 2016 and both filed federal civil rights actions that are

currently pending in this Court. See Serrano v. Guevara, et al., 17-cv-2869 and Montanez v.

Guevara, et al. 17-cv-4560.

       9.      Defendants GUEVARA and MINGEY also framed Jacques Rivera who was

wrongfully convicted of the 1988 murder of Felix Valentin. The Cook County State’s Attorney’s

office vacated Rivera’s conviction on October 4, 2011, and he received a Certificate of

Innocence on September 5, 2012. Rivera’s civil suit against GUEVARA and MINGEY is

currently pending in this Court. Rivera v. Guevara, et al., 12-cv-4428.

       10.     Since Plaintiff’s exoneration less than a year ago, the State has vacated murder

convictions of six other individuals who have demonstrated that they were framed by

GUEVARA, HALVORSEN and MINGEY including Jose Maysonet, Arturo Reyes, Gabriel

Solache, Thomas Sierra, Ariel Gomez, and Ricardo Rodriguez.

       11.     Plaintiff now seeks compensation for the incalculable hardship and injury he

suffered as a result of the Defendants’ egregious misconduct.




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                                  JURISDICTION AND VENUE

         12.    This action is brought pursuant to 42 U.S.C. § 1983 to redress the deprivation

under color of state law of Plaintiff’s rights as secured by the United States Constitution as well

as the deprivation of rights under Illinois state law.

         13.    This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1367. Venue is proper

under 28 U.S.C. §1391(b), because the parties reside in this judicial district, and the events

giving rise to the claims asserted herein occurred in this judicial district.

                                              PARTIES

         14.    Plaintiff Roberto Almodovar, Jr., a 44-year-old Latino man, is a citizen of the

United States and resides in the City of Chicago.

         15.    Defendant CITY OF CHICAGO is an Illinois Municipal Corporation, which

employs or employed the Police Officer Defendants at the time of the events giving rise to this

suit.

         16.    At all relevant times hereto, Defendants Reynaldo GUEVARA (Star No. 16345)

and Ernest HALVORSEN (Star No. 20692) were members of the Chicago Police Department

and assigned to Area Five’s Violent Crimes Unit. Defendant OLSZEWSKI (Star No. 4337) was

a member of the 25th District gang team. Each of these defendants conspired with one another

and with other persons, known and unknown, to conceal and fabricate evidence, manipulate

witness testimony, and maliciously prosecute Plaintiff for the murders of Jorge Rodriguez and

Amy Merkes.

         17.    Defendant Sergeant Edward MINGEY (Star No. 1731) was a member of the

Chicago Police Department and assigned to Area Five’s Violent Crimes Unit. MINGEY was, at




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all relevant times, a supervisor of the Police Officer Defendants. He facilitated, condoned and

approved the constitutional violations committed by the Police Officer Defendants.

        18.       Each of the individual Chicago Police officer defendants are sued in his individual

capacity, and each acted under color of state law and in the scope of his or her employment while

engaging in the actions alleged in this Complaint.

                                    FACTUAL ALLEGATIONS

              “Take your spic-ass back to Humboldt Park” – Defendant Mark Olszewski

        19.       In 1993, Plaintiff lived with his aunt and uncle in the predominantly Hispanic

neighborhood known as Humboldt Park. Although he affiliated with the Insane Dragons, a street

gang that many of his family members belonged to, Plaintiff largely steered clear of gang-related

activities.

        20.       Plaintiff’s efforts to stay on a straight and narrow path did not stop defendant

OLSZEWSKI from targeting him for baseless arrests. Plaintiff turned 18 years old on April 27,

1993. Around that time, he began suffering regular harassment and racially-motivated verbal

abuse from defendant OLSZEWSKI. Defendant OLSZEWSKI was a 25th District gang crimes

officer who despised the Humboldt Park community, viewed all Hispanics as fungible gang-

bangers, and approached policing the Humboldt Park community as if he was hunting big game.

Defendant OLSZEWSKI was known to confiscate personal items (such as articles of clothing)

from “gang-bangers” he arrested that he proudly displayed in his 25th District office like

trophies.

        21.       Defendant OLSZEWSKI had a particular disdain for Plaintiff and his family,

because some members of the Almodovar family lived in a neighborhood (near Normandy and

Belden) adjacent to Humboldt Park that was comprised largely of white people. Defendant




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Plaintiff would often visit his cousin and girlfriend who both lived in the area of Normandy and

Belden. Whenever OLSZEWSKI saw Plaintiff and his cousins in the neighborhood he would

stop and harass them.

       22.     For example, in and around spring 1993, Plaintiff was walking toward his

cousin’s house located near Belden and Rutherford Avenues. As Plaintiff walked down the

street, OLSZEWSKI pulled up next to Plaintiff in his marked police car. OLSZEWSKI stated in

sum and substance, “[t]ake your spic-ass back to Humboldt Park, you don’t belong over here.

You aren’t fucking up my neighborhood.”

       23.     On another occasion in August 1993, Plaintiff was hanging out at a McDonalds

on North avenue with some friends and his girlfriend, Azalia Carrillo (“Sassy”). Defendant

OLSZEWSKI entered the restaurant and ordered Plaintiff into the bathroom with him. Plaintiff

complied. Once in the bathroom, OLSZEWSKI began questioning Plaintiff about an incident

involving vandalism to a car. Plaintiff had no knowledge about the incident and told

OLSZEWSKI as much. OLSZEWSKI smacked Plaintiff around, called him a liar, and then

arrested him. The charges were later dismissed.

       24.     That same summer OLSZEWSKI cornered Plaintiff in an alley in the Brickyard (a

neighborhood near Grand and Oak Park Avenues) and said to him, in sum and substance, “I’ve

been locking up your buddies. You think you’re slick. But you aren’t that slick. And when I do

get you, you are going away for a long time.”

       25.     In and around March 1994, Plaintiff dissociated himself entirely from all gang

activity upon learning that his girlfriend Sassy was pregnant with their daughter. Plaintiff began

attending school and working full-time doing janitorial work at Farley’s Chocolate Company.




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           26.   Between April 1993 and August 1994, Plaintiff was arrested for petty offenses

like “mob action” and “gang loitering” roughly six (6) times. All cases were dismissed. Indeed,

prior to the arrest that resulted in Plaintiff’s 23-year wrongful conviction, he had no prior

convictions.

                                              The Alibi

           27.   On August 31, 1994, Plaintiff worked an eleven-hour shift at Farley’s Chocolate

Company. He left work at roughly 5:00 p.m. and took a bus to Wilbur Wright College where he

attended GED classes. Sometime between 9:30 and 10:00 p.m., he took a City bus back to his

home at 1732 North Springfield Ave., arriving home at approximately 10:45 p.m.

           28.   At the time, Plaintiff lived at the Springfield address with his aunt Mary

Rodriguez, his uncle Jose (“Joe”) Rodriguez, his 10-year old cousin, Joe Jr., his grandmother, his

uncle Edwin, and his girlfriend Sassy who had given birth to their daughter Jasmine six-months

earlier.

           28.   When Plaintiff arrived home at roughly 10:45 p.m., he was angry because Sassy

and the baby were not home. Sassy arrived home with the baby at roughly 11:00 p.m. and the

two started arguing about Sassy having the baby out so late.

           30.   Plaintiff’s aunt Mary was upset with the young couple, because their arguing was

disrupting other members of the household, including Joe Jr., whose first day of school was the

following day, September 1, 1994. Indeed, the next-door neighbor was awakened by the loud

argument.

           31.   Mary called her nephew Sergio Almodovar and his wife Amaris Carrillo, Sassy’s

sister, and asked them to come to the house to help mediate the argument between Plaintiff and

Sassy. Sergio and Amaris agreed.




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       32.     Sergio and Amaris spent an hour or two at the house helping ease the tensions

between Plaintiff and Sassy and left the house at around 1:30 a.m. Plaintiff did not leave the

Springfield residence between the time he arrived home at around 10:45 p.m. and the next

morning.

                                            The Shooting

       33.     While Plaintiff and Sassy argued at the Springfield residence, and Sergio and

Amaris attempted to mediate, a separate group of young people gathered on a stoop in front of an

apartment building located at 3920 W. Cortland St.

       34.     Among the group was Jacqueline Grande (“Grande”), Amy Merkes (“Merkes”),

Jorge Rodriguez (“Rodriguez”), and Kennelly Saez (“Saez”). Rodriguez and Saez were longtime

friends, Saez and Merkes were dating, and Grande described Merkes as her “best friend.”

       35.     Saez lived on the building’s third floor; the building bordered the sidewalk for

nearly a half-block, and a single lightbulb over the door illuminated the area. The nearest

streetlight was a quarter block away on the opposite side of the tree-lined street.

       36.     Saez and Rodriguez were members of the Maniac Latin Disciplines street gang. In

September 1994, the Disciples were purportedly in conflict with the Latin Kings, the Unknowns,

and the Insane Dragons, but Saez lived on a neutral corner.

       37.     At approximately 12:45 a.m., Saez was standing and speaking to his friends who

remained sitting on a step adjacent to the sidewalk. A parkway separated the sidewalk from the

street where cars were parked. A blue Oldsmobile drove down the street.

       38.     The blue Oldsmobile containing three individuals passed them again, but this time

it pulled into the alley that abutted the building. The car drove in reverse out of the alley, on to

the street, and stopped in a space between two cars parked in front of the group. Saez approached




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the car and got as far as the sidewalk when the rear passenger said, “What’s up, folks?” Saez

replied, “who’s that,” and the rear passenger drew a handgun and began firing.

       39.     When the firing began, Saez dove behind a parked car, and Grande, Merkes, and

Rodriguez fled into the building’s foyer, through an interior door and up a staircase. Grande,

Merkes, and Rodriguez were shot as they ascended the staircase. Grande was shot in the back but

kept fleeing up the stairs. Merkes collapsed and died in the stairwell. Rodriguez ran to Saez’s

third floor apartment and collapsed there. Grande took refuge in another third-floor apartment.

       40.     The blue car sped away, and Saez ran to his third-floor apartment and called 911.

Rodriguez was transported to a hospital and died soon thereafter. Grande was hospitalized for a

gunshot wound to her back and shoulder.

       41.     Chicago police officer Robert Lohman was on routine patrol when an off-duty

deputy sheriff who lived in the area informed him that a drive-by shooting had occurred at the

intersection of Cortland street and Harding avenue. Officer Lohman spoke to an injured Grande

on-scene who described the perpetrators as three Hispanics, sixteen to twenty years old, wearing

Starter jackets. She was unable to provide any description of weights, heights, or hair styles.

       42.     Later in the day on September 1, 1994, Grande spoke to detective Dembowksi at

the hospital who memorialized her statements in a police report. Grande told Dembowksi that the

assailants were “three male Hispanics; the driver was tall and thin, dark hair, light complexion.

The front passenger had a thin long face with a light complexion, black jacket, red hat. The back-

seat passenger was skinny, dark hair, medium complexion, clean looking, all teens and early

twenties.”




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       43.     Saez was interviewed at the police station after the shooting and could only

describe the offenders as three male Latinos in a blue car. Saez told the police he dove behind a

car when the shooting started and did not see the offenders.

       44.     After a few days went by with no solid leads or arrests, defendants GUEVARA

and HALVORSEN were assigned to the case. Sergeant MINGEY routinely assigned

GUEVARA and HALVORSEN to murder cases that he wanted closed quickly.

                                         The Frame-Up

       45.     As they had done numerous times in the past, defendants GUEVARA,

HALVORSEN and MINGEY began strategizing about who they wanted to frame for the

murders of Merkes and Rodriguez. Consistent with their custom, the defendant officers saw no

reason to waste time legitimately investigating the case and attempting to identify the true

offenders. Their perspective was that all the “gang bangers” in Humboldt Park were the same

and would eventually get what was owed to them, either death or murder charges.

       46.     GUEVARA, HALVORSEN and MINGEY theorized that the Maniac Latin

Disciplines (the victims’ gang) and the Insane Dragons were at war with one another and that the

shooting on Cortland was in retaliation for the murder of an Insane Dragon that recently took

place seven blocks away. Thus, it made sense to pin the Cortland murders on Insane Dragons.

       47.     GUEVARA, HALVORSEN, and MINGEY turned to their colleague defendant

OLSZEWSKI for input on who to “hook up” with this case, since OLSZEWSKI was most

familiar with the members of the Insane Dragons gang. Defendant OLSZEWSKI suggested the

perfect candidate – Plaintiff.




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        48.     Defendants GUEVARA and HALVORSEN asked OLSZEWSKI to obtain a

photo of Plaintiff so that they could use it to secure a false identification of Plaintiff as one of the

offenders. But OLSZEWSKI had no photo of Plaintiff.

        49.     With this in mind, the defendants derived a plan to arrest Plaintiff and obtain a

photo of him that would later be used to frame him for the double murder. Defendant

OLSZEWSKI went to Plaintiff’s cousins house located on Rutherford avenue on the evening of

September 4, 1994.

        50.     That evening, Plaintiff was helping his uncle and cousins move out of their home

on Rutherford avenue. While taking a break in the living room, they noticed a flashlight out in

the yard. Sergio went outside to see what was going on and reported that defendant

OLSZEWSKI was outside with his partner. OLSZEWSKI claimed that a “gang” meeting was

taking place inside which authorized the officers to search the house.

        51.     OLSZEWSKI ordered Plaintiff (and his family members) on the floor while he

and his partner searched the home. OLSZEWSKI returned with a mysterious duffel bag that

allegedly contained a sawed-off shotgun. OLSZEWSKI took Sergio into a bedroom of the house

and began questioning him about whether he had any knowledge about the shooting on Cortland.

Sergio told OLSZEWSKI he knew nothing about it; OLSZEWSKI called Sergio a liar and began

striking him and demanding information.

        52.     OLSZEWSKI specifically wanted Sergio to ask Plaintiff whether he had any

knowledge about the murders. Sergio left the bedroom and asked Plaintiff (who was still

detained in the living room) whether he knew anything about the shooting on Cortland so that he

could tell OLSZEWSKI something. Plaintiff told Sergio he had no knowledge about the

shooting.




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        53.    OLSZEWSKI had no reason to believe that either Plaintiff or Sergio had

knowledge about the Cortland shooting but he was attempting to get Plaintiff to admit some

knowledge about the shooting to his cousin in an effort to start building probable cause against

Plaintiff for the murders. Despite OLSZEWSKI’S physical assault of Sergio, Sergio was unable

to provide any information about the shooting.

       54.     Eventually Plaintiff and his cousins were arrested. Plaintiff was charged with

simple “mob action” but the true purpose of Plaintiff’s arrest was to obtain a Poloroid photo of

him so he could be framed by the defendant officers for the murders on Cortland avenue. Despite

having been arrested for mob action and brought to the 25th District on a number of prior

occasions, Plaintiff had never had his Poloroid taken. This time was different. OLSZEWSKI

took a Poloroid photo of Plaintiff himself.

       55.     OLSZEWSKI promptly provided the Poloroid photo of Plaintiff to defendants

GUEVARA and HALVORSEN with the understanding, knowledge, and intent that the photo

would be used to frame Plaintiff for the murders of Merkes and Rodriguez. Defendants

GUEVARA and HALVORSEN asked OLSZEWSKI to provide them with a photo of another

known Insane Dragon, named Willie Negron who was one of Plaintiff’s friends. Negron also

happened to be the son of GUEVARA’S wife’s best friend.

       56.     Defendants OLSZEWSKI, GUEVARA, and HALVORSEN discussed that one of

the victims Jackie Grande was young and vulnerable and could be easily manipulated into

identifying Plaintiff and Negron as the offenders. They also discussed that Saez was a rival gang

member who could easily be leaned on to make a false identification of Plaintiff and Negron.

       57.      Defendants GUEVARA and HALVORSEN brought the photos to Grande while

she was still at the hospital convalescing and falsely told her that Plaintiff and Negron were the




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offenders who shot her and murdered her friends. GUEVARA and HALVORSEN told Grande

that when she was released from the hospital she would have to identify them in a live line-up.

       58.     On September 11, 1994, defendants GUEVARA and HALVORSEN with the

approval of their sergeant defendant MINGEY arrested Plaintiff and brought him into Area Five

to be interviewed. According to defendant HALVORSEN, Plaintiff admitted that he was a

current member of the Insane Dragons street gang and acknowledged that the Insane Dragons

and the Maniac Latin Disciples were at war with one another. Those statements were false.

HALVORSEN also falsely reported that Plaintiff told him that he had been told by Willie

Negron at a gang meeting that the “war” had been called off.

       59.     Defendants GUEVARA and HALVORSEN then arrested Negron and brought

him to Area Five, again with the approval of defendant MINGEY. Indeed, defendant MINGEY

was the supervising sergeant for the arrests of both Plaintiff and Negron.

       60.     On September 12, 1994, defendant GUEVARA went to Grande’s house to pick

her up to view a live line-up. With the knowledge and approval of HALVORSEN and MINGEY,

GUEVARA again showed Grande the same photos of Plaintiff and Negron they had previously

showed her at the hospital. GUEVARA falsely told Grande that Plaintiff was the shooter in the

rear seat of the car and that Negron was driving the car and was also a shooter. GUEVARA also

told Grande that they would have to get Saez to make the same identifications.

       61.     GUEVARA and Grande drove to Saez’s house. GUEVARA showed Saez the

photos of Plaintiff and Negron and falsely told him that they were the offenders. Saez was

reluctant to agree because he had not actually seen the shooters, but Grande assured him that

GUEVARA was positive that they were the offenders. Saez was overwrought with guilt that his

gang involvement had caused the death of his girlfriend and best friend and felt enormous




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pressure to go along with the program. GUEVARA reassured him that Plaintiff and Negron were

the offenders and that he should identify them. Saez knew that he possessed no independent

knowledge that Plaintiff and Negron were the offenders but ultimately did what GUEVARA told

him to do.

       62.     GUEVARA took Saez and Grande to Area Five to view a line-up. GUEVARA

told Saez not to mention that he had been shown photographs of Plaintiff and Negron prior to

viewing the line-up.

       63.     Defendants GUEVARA, HALVORSEN and MINGEY conducted a live line-up

at roughly 6:00 p.m. on September 12, 1994. The defendant officers knew that no probable cause

existed to justify the arrests of Plaintiff and Negron but nonetheless had Grande and Saez view a

line-up knowing that their unlawful tactics would produce a false identification of Plaintiff and

Negron. Unsurprisingly, Grande and Saez identified Plaintiff and Negron as the offenders based

on the false statements of GUEVARA and HALVORSEN and the photos of Plaintiff and Negron

previously shown to them.

       64.     After being falsely identified and then confined to a holding cell, defendant

OLSZEWSKI popped his head in, looked directly at Plaintiff in the eyes, and said, “Gotcha!”

before walking away laughing.

                                    Plaintiff’s Wrongful Conviction

       65.     At Plaintiff’s trial GUEVARA falsely testified that after the shooting, Saez told

him that the rear passenger-seat occupant of the car [the shooter] had a rectangular head and long

hair. GUEVARA falsely testified that based on Saez’s description and his belief that the murder

was in retaliation for the prior murder of an Insane Dragon, GUEVARA obtained a photograph

of Plaintiff and his “associate” Willie Negron.




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       66.     GUEVARA falsely testified that during a telephone interview with Grande on

September 5, 1994, Grande described the car’s rear passenger exactly as Saez had a few days

earlier, that is, he had a rectangular head and long hair. GUEVARA’s testimony concerning prior

descriptions of the offenders by Grande and Saez were entirely fabricated.

       67.     GUEVARA falsely testified that he showed Grande two different photo arrays,

one depicting individuals with long hair like Plaintiff and another depicting individuals with

short hair like Negron and that she identified Plaintiff and Negron respectively from the two

photo arrays. This testimony was wholly fabricated. GUEVARA never showed Grande photo

arrays and GRANDE never identified Plaintiff or Negron from those alleged photo arrays.

       68.     Although Saez provided a sworn statement recanting his identification of Plaintiff

and Negron prior to Plaintiff’s trial, Saez ultimately identified Plaintiff and Negron at trial. Saez

later testified that he implicated Plaintiff and Negron at trial in hopes of obtaining favorable

treatment from the state regarding his pending violation of probation charge. Assistant Cook

County State’s Attorney Callahan contacted Saez before Plaintiff’s trial and Saez explained that

after that conversation it was his understanding that if he testified for the State, he would be

released from custody. Saez’s probation was in fact terminated on November 30, 1995, two days

after his November 28, 1995 trial testimony against Plaintiff.

       69.     As a result of GUEVARA’s false statements to Grande that Plaintiff and Negron

were the shooters in conjunction with the improper and highly suggestive tactic of showing

Grande a single photo of Plaintiff prior to having her identify Plaintiff from a line-up, Grande

again identified Plaintiff as the shooter consistent with her prior false identification.

        70.    Based on the foregoing false and fabricated testimony, a jury convicted Plaintiff

of two counts of first degree murder and two counts of attempt first degree murder. The trial




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court judge found Plaintiff eligible for the death penalty but sentenced him to a term of natural

life imprisonment consecutive to two 30-year terms for attempt for first degree murder.

       71.     Plaintiff’s convictions and sentence were affirmed on direct appeal. Private

attorney Matthew Kennelly (now United States District Court Judge Matthew Kennelly)

represented Plaintiff during post-conviction proceedings, alleging Plaintiff’s actual innocence. At

an evidentiary hearing, Saez testified that GUEVARA showed him photographs of Plaintiff and

Negron prior to viewing a live line-up and falsely told him that “these are the guys who did the

shooting.” Saez explained that he studied the photos and “went along with it,” even though he

could not identify them as the offenders.

       72.     Saez testified that GUEVARA instructed him not to mention that he viewed the

photos prior to making the live line-up identification.

       73.     GUEVARA also testified at the evidentiary hearing, falsely claiming that he never

showed Saez any photographs prior to viewing the line-up. GUEVARA testified that he

developed a “feeling” during the investigation’s preliminary stages that Plaintiff, who had been

arrested for mob action a few days before the shooting, was involved.

       74.     Cook County Circuit Judge James Linn denied Plaintiff’s post-conviction petition,

instead crediting GUEVARA’s false testimony.

                                         Plaintiff’s Exoneration

       75.     Throughout his wrongful incarceration, Plaintiff tirelessly fought to prove that he

was innocent and wrongfully convicted of the 1994 murders. In 2010, Plaintiff filed a pro se

successive post-conviction, alleging that new evidence showed that detective GUEVARA had a

widespread pattern and practice of framing people. The petition was summarily dismissed by the




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circuit court, but the appellate court reversed the cause for further post-conviction proceedings in

a published decision, People v. Almodovar, 2013 IL (1st) 101476 (1st Dist. 2013).

       76.     Plaintiff, through his counsel, filed an amended post-conviction petition, alleging

Plaintiff’s actual innocence. An evidentiary hearing was held on the petition during which

Plaintiff presented substantial evidence of GUEVARA’s pattern and practice of misconduct.

GUEVARA refused to testify, instead asserting his Fifth Amendment right to remain silent in

response to each and every question directed at him. Saez again testified that he had never seen

the shooters and only identified Plaintiff and Negron because GUEVARA showed him a photo

of the Plaintiff and told him he was the offender and to identify him from the live line-up.

       77.     Prior to a ruling from the circuit court judge, the office of the Cook County

State’s Attorney consented to granting Plaintiff and Negron’s post-conviction petitions on the

grounds that newly discovered evidence was of such a conclusive character that it would

probably change the result on retrial. The Cook County State’s Attorney then moved to vacate

Plaintiff and Negron’s convictions and nolle prosequi all charges.

       78.     After spending 23 years in a maximum security facility of the Illinois Department

of Corrections, Plaintiff was released from custody on April 14, 2017.

       79.     With no objection from the State, the Honorable Leroy Martin, Jr. granted

Plaintiff (and William Negron) a Certificate of Innocence on November 20, 2017.

                   Defendants GUEVARA, HALVORSEN and MINGEY’s
                           History of Framing Innocent Persons

       80.     Tragically, Plaintiff’s wrongful conviction at the hands of defendant GUEVARA

and his accomplices, including defendants HALVORSEN and MINGEY, is not an isolated




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miscarriage of justice. Over the course of two decades, the trio framed literally dozens of other

innocent men who have all lodged independent accusations of similar misconduct against him.1

       81.     GUEVARA, HALVORSEN, and MINGEY are the subject of an ever-growing

number of litigations both in criminal and civil courts. All three defendants are now refusing to

testify about any of their activities as Chicago police officers on grounds that truthful testimony

would subject them to criminal liability.

       82.     Defendant GUEVARA has a long history of engaging in precisely the kind of

investigative misconduct that occurred in this case, including abusive tactics, manipulation of

witnesses, fabrication of evidence, and concealment of evidence in the course of maliciously

prosecuting innocent persons. There are dozens of identified cases in which GUEVARA has

engaged in serious investigative misconduct, including many cases in which he has manipulated

and coerced witnesses and fabricated and concealed evidence, as he did in this case.

       83.     In many of these cases, detective HALVORSEN worked hand-in-hand with

GUEVARA while MINGEY supervised the rogue detectives, approved their investigations, and

sometimes played an even more active role in framing suspects. For example, in the case of Jose

Maysonet, defendant MINGEY fabricated from whole cloth two oral statements that he

attributed to Maysonet – evidence that was later used to wrongfully convict him.

       84.     Given this extensive history, it is apparent that GUEVARA, HALVORSEN, and

MINGEY engaged in such misconduct because they had no reason to fear that the City of

Chicago and its Police Department would ever discipline then for doing so.




1
 https://www.buzzfeed.com/melissasegura/detective-GUEVARAs-
witnesses?utm_term=.tymQzXk3Yn#.lhx2y8nblB



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       85.     Regarding his role in framing Plaintiff, Defendant GUEVARA has asserted his

Fifth Amendment right to silence when questioned about: whether he framed Plaintiff; whether

he induced Grande and Saez to falsely identify Plaintiff by showing them photographs of

Plaintiff and Negron and telling them to identify them from a live line-up. GUEVARA asserted

his Fifth Amendment right in response to questions regarding his frame-ups of dozens of others.

       86.     Repeatedly, defendant GUEVARA has invoked his Fifth Amendment rights and

refused to answer any questions about allegations that he manipulated dozens of witnesses to

provide false identifications because truthful responses could subject him to criminal liability,

including every single instance of misconduct detailed below. And recently, defendants

HALVORSEN and MINGEY have begun asserting their Fifth Amendment rights to refuse to

answer questions about their involvement in Area Five investigations, most recently in response

to interrogatories propounded to them in the federal civil rights litigation brought by Armando

Serrano and Jose Montanez.

       87.     Bill Dorsch is a former Chicago police detective. While serving with the Chicago

police department, Dorsch was assigned to investigate a murder. Several months after the

murder occurred, Defendant GUEVARA brought two juveniles to the police station who

purported to have witnessed a shooting and recorded the license place of the shooter.

       88.     Based on the information provided, Detective Dorsch created a photo array for the

juveniles to attempt to identify the shooter. While the first juvenile was viewing the photo array,

and before he identified any of the photographs, Defendant GUEVARA pointed to the suspect’s

photo and told the juvenile “that’s him.” The juvenile then agreed with GUEVARA, saying that

was the person who committed the shooting.




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       89.       Dorsch then directed Defendant GUEVARA to leave the room and had the other

juvenile view the same photo array, and he was unable to make any identification.

       90.       Based on the first juvenile’s identification, the suspect was charged with murder.

Subsequently, Dorsch spoke to the two juveniles without Defendant GUEVARA being present.

The juveniles admitted that they had been paid to falsely claim that the suspect was the person

responsible for the shooting. After prosecutors spoke to the two juveniles, the suspect was

released.

       91.       Defendant GUEVARA’s activities have drawn the interest of federal law

enforcement officers. In 2001, the FBI authored a special report detailing the criminal activity of

Chicago Police Officer Joseph Miedzianowski and his associates, including Defendant

GUEVARA. The report details that Defendant GUEVARA, while acting in his capacity as a

police officer, would apprehend drug and gun dealers and then allow them to “buy their way out

of trouble.” According to the report, GUEVARA also took bribes to alter both positive and

negative lineups of murder suspects. Finally, the report states that GUEVARA, using an attorney

[Richard Beuke] as a conduit, would receive cash in exchange for the ultimate dismissal of

murder cases he investigated.

       92.       In 1989, Defendant GUEVARA coerced Samuel Perez into falsely identifying

Juan Johnson as the person who killed Ricardo Fernandez. Defendant GUEVARA put Perez

inside his car, showed Perez a photo of Juan Johnson, and told Perez that he wanted Juan Johnson

to take the blame for the murder. Unsurprisingly, Perez subsequently falsely identified Johnson

as a murderer.

       93.       In 1989, Defendant GUEVARA also coerced Salvador Ortiz into making a false

identification of Juan Johnson, which he later recanted.




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        94.    Juan Johnson was later exonerated and brought suit against Defendant

GUEVARA. A federal jury found that GUEVARA framed Johnson for murder and awarded

Johnson $21 million in damages.

        95.    In 1989, Defendant GUEVARA coerced Virgilio Muniz into making a false

identification by repeatedly threatening Muniz that if he did not identify Manuel Rivera as the

murderer, Muniz would “go down for the murder.”

        96.    In 1989, Defendant GUEVARA coerced Virgilio Calderon Muniz (unrelated to

Virgilio Muniz, described in the above paragraph) into making a false identification by telling

him who to identify and making a veiled threat as to what would happen if he did not.

        97.    In 1990, Defendant GUEVARA physically coerced Jose Maysonet into falsely

confessing to the murders of Torrence and Kevin Wiley. Defendant MINGEY also falsely

reported that Maysonet had admitted his involvement in the double murder. Maysonet’s

convictions were reversed in 2016 and all charges against him were dismissed in November

2017.

        98.    In 1991, Defendant GUEVARA coerced Wilfredo Rosario into making a false

identification and giving false testimony before the Grand Jury by threatening Rosario that if he

did not identify Xavier Arcos as the murderer, Rosario would be “pinned” for the murder.

GUEVARA fed Rosario details of the crime, such as the number of shots fired, the type of vehicle

used in the crime, and the participants in the crime. Rosario recanted his identification of Arcos

at trial. Though Arcos was still found guilty of murder by a jury, the appellate court overturned

the conviction based on the lack of sufficient evidence.

        99.    In 1991, Defendant GUEVARA physically coerced sixteen-year-old David

Velazquez into making a false identification and giving false testimony by taking him to a rival




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gang’s territory, beating him while chained to a wall at Area 5, and threatening to “get you for

anything I can” if he did not talk. All of the false details of Velazquez’s statement were provided

by GUEVARA.

        100.    In 1993, Defendant GUEVARA coerced an identification from Carl Richmond by

threatening Richmond that he could make his life very uncomfortable if Richmond did not

identify Robert Bouto as the murderer of one of Richmond’s friends. Richmond, who was

familiar with GUEVARA’s tactics, believed that GUEVARA would honor this threat.

        101.    In 1995, Defendant GUEVARA arrested Edwin Davila and, in an attempt to coerce

a confession, chained him to the wall of an interrogation room and told him that he was going to

frame him for murder. After Davila told GUEVARA that he did not do it, GUEVARA forced

Davila to participate in a lineup in which two witnesses identified Davila as the perpetrator,

despite the fact that each of those witnesses had previously told the police that they had not been

able to see the shooter.

        102.    In 1991, Defendant GUEVARA told Efrain and Julio Sanchez to pick David

Colon out of a lineup. As a result, these men falsely claimed that Colon had committed murder,

but later came forward to bring Defendant GUEVARA’s misconduct to light.

        103.    In 1995, Defendant GUEVARA coerced Evelyn Diaz into making a false

identification and providing false testimony to the Grand Jury by threatening Diaz that if she did

not identify Luis Serrano as the shooter, her children would be taken away by the Department of

Children and Family Services.

        104.    In 1995, Defendant GUEVARA told Luis Figueroa to falsely identify Angel Diaz

as the perpetrator even though Figueroa did not see anything. Figueroa identified Diaz but

recanted his identification at trial.




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        105.    In 1995, Defendant GUEVARA coerced Gloria Ortiz Bordoy into making a false

statement and testifying falsely against Santos Flores at trial. During Ortiz Bordoy’s six-to-eight-

hour interrogation, GUEVARA yelled in her face, threatened that her children would be taken by

the Department of Children and Family Services, called her “the B word,” and “raised his hand”

saying that he “felt like smacking” her. Finally, without reading its contents, Ortiz Bordoy signed

a statement that the detectives wrote out for her because she just wanted to “get out of there.”

        106.    In 1995, Defendant GUEVARA coerced Rodolfo Zaragoza, who was a victim and

an eyewitness to a crime, into making a false identification and providing false testimony.

Zaragosa was intimidated by GUEVARA and identified Ricardo Rodriguez as the offender

because GUEVARA told him that Rodriguez was the shooter.

        107.    In 1995, Defendant GUEVARA engaged in misconduct when he told Jose

Melendez to falsely identify Thomas Sierra as the shooter even though Melendez did not see the

shooter. Melendez identified Sierra, but recanted his identification at trial. Thomas Sierra was

exonerated last year but only after serving his enter sentence.

        108.    In 1996, Defendant GUEVARA coerced Maria Rivera into making a false

identification of a man in a lineup by unzipping his pants and propositioning her. Rivera later

told the prosecutor that she had falsely identified an individual in a lineup at GUEVARA’s

direction. The prosecution later abandoned murder charges against the individual whom Rivera

falsely identified in the lineup.

        109.    In 1997, Defendant GUEVARA coerced Robert Ruiz into making a false

identification. GUEVARA detained Ruiz repeatedly over the course of a ten-day period, locking

him in an interrogation room without food, water, or a bathroom. Though Ruiz kept telling

GUEVARA that he had not seen the shooter or the driver involved in the crime, GUEVARA told




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Ruiz whom to identify and what to say in his statement. Ruiz finally implicated Freddy and

Concepcion Santiago in the murder because Ruiz believed that GUEVARA would continue to

harass him until he changed his story. Ruiz recanted his identification at trial, and the judge found

Freddy and Concepcion Santiago not guilty. The trial judge found it disturbing that GUEVARA

was the lead detective in the case because the victim was GUEVARA’s nephew.

       110.    In 1997, Defendant GUEVARA withheld physical evidence and failed to disclose

the exculpatory statements of witness Ruth Antonetty to Ariel Gomez. Gomez was accused of

firing multiple shots from a car into a crowd. Ruth Antonetty told GUEVARA that she heard

multiple shots coming from within the crowd, not from Gomez’s vehicle. GUEVARA continued

to pressure her to change her account, and when she would not, he told her he “had other

witnesses” and “didn’t need her.” As a result, Ariel Gomez did not have access to key Brady

material at his trial. Gomez was also exonerated last year.

       111.    In 1998, Defendant GUEVARA used suggestive tactics to force twelve-year-old

Orlando Lopez to falsely identify Jacques Rivera as the person who shot Felix Valentin. As a

result, Rivera was convicted of murder. In 2011, Lopez testified at an evidentiary hearing that he

had never been able to identify Rivera as the murderer. As a result, Rivera received a new trial.

Ultimately, the State’s Attorney dropped all charges against Rivera. Rivera was awarded a

Certificate of Innocence and his federal civil rights action is currently pending in this Court.

       112.    In November 2001, Defendant GUEVARA’s girlfriend, Judith Martinez, attended

a trial in which GUEVARA was testifying and observed the testimony of trial witnesses. She

then conferred with GUEVARA, even though the Court had ordered all witnesses excluded from

the courtroom to prevent collusion among the witnesses.




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       113.    In 1982, Defendant GUEVARA and another officer arrested and physically

assaulted Annie Turner for smoking on a bus. GUEVARA called her a “bitch” and pushed her

out the back door of the bus. He twisted her arm, threatened to “snap” it, and handcuffed her so

tightly that her skin broke. He also hit her across the face with a metal bracelet he was wearing

and called her a “nigger bitch.” Turner sought medical treatment and filed a complaint with the

Office of Professional Standards.

       114.    In 1982, Defendant GUEVARA and three other officers broke through Almarie

Lloyd’s locked front door and conducted a warrantless search of her home. When Lloyd asked

who they were, she was told to shut up. The officers terrified Lloyd, her brother, and two

children, and left the home in shambles. Lloyd filed a complaint with the Office of Professional

Standards the next day.

       115.    In 1983, Defendant GUEVARA and other officers forcibly removed Leshurn Hunt

from his home and handcuffed him to a ring in the wall at the police station where he was beaten

about the head, face, and body until he confessed to murder and robbery charges. Hunt was

detained for approximately 23 hours and deprived of food, water, and sleep until after he

confessed. Hunt sought medical treatment for his injuries and filed a complaint with the Office of

Professional Standards. Witnesses who saw Hunt while in custody corroborated his claim of a

beating by the police. The criminal court judge suppressed Hunt’s confession, and a jury returned

a favorable verdict in a related civil rights action on Hunt’s claim of excessive detention against

the City of Chicago.

       116.    In 1984, Defendant GUEVARA and other officers physically assaulted Graciela

Flores and her 13-year old sister Anna during a search of their home, during which the officers

did not identify themselves as police. GUEVARA repeatedly slapped Graciela, called her a




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“bitch” and pulled her hair. As a result of this incident, Graciela’s arm was dislocated/broken and

she spent one week in the hospital.

       117.    In 1985, Defendant GUEVARA attempted to coerce a false statement from

Reynaldo Munoz. GUEVARA handcuffed Munoz and put him in the back of a squad car. When

Munoz denied knowing the people GUEVARA was asking about, GUEVARA repeatedly hit him

in the mouth with his fist. GUEVARA then took Munoz to rival gang territory where he allowed

rival gang members to spit on Munoz and beat Munoz about the head. Munoz was later framed

by defendant HALVORSEN for the murder of after HALVORSEN induced a false identification

from an alleged witness to the shooting.

       118.    In 1986, Defendant GUEVARA threw Rafael Garcia against a car, struck him in

the face several times, kicked him and hit him in the head. Garcia filed a complaint with the

Chicago Police Department’s Office of Professional Standards (OPS). Although GUEVARA

denied the charges, Garcia’s complaints were corroborated by physical evidence, as he was

treated at the hospital for lacerations to the head. After an investigation into the incident, OPS

found that GUEVARA had lied about the incident and recommended that GUEVARA be

suspended for two days.

       119.    In 1986, Defendant GUEVARA and two other officers coerced a confession from

Daniel Pena by beating him about the face and ribs with their hands and about the groin and thighs

with flashlights during an interrogation. Pena was taken to see a doctor where he complained

about being beaten by the police. The doctor found bruising to Pena’s legs and abrasions and

lacerations to Pena’s nose. Family members corroborated Pena’s claim that he had been beaten

while in police custody.




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        120.     In 1986, Defendant GUEVARA pulled over Melvin Warren because Warren cut

him off while driving westbound on Augusta Boulevard. GUEVARA called Warren a “nigger

dog” and “threatened to tear [Warren’s] head off.” GUEVARA hit Warren in the face with a

closed fist and then forced him down into the front seat of his car and began to choke him. Two

eyewitnesses confirmed that GUEVARA initiated the beating. In response to this incident,

Warren sought medical treatment and filed a complaint with the Office of Professional Standards

(OPS). OPS sustained Warren’s allegations that GUEVARA had physically and verbally

assaulted him and recommended that GUEVARA be reprimanded.

        121.     In 1989, Defendant GUEVARA coerced a false confession from Victor Vera by

transporting him to rival gang territory and threatening to release him unless he confessed to the

murder of Edwin Castaneda. Fearing for his life, Vera agreed to falsely confess to a crime he knew

nothing about.

        122.     In 1991, Defendant GUEVARA coerced David Rivera into signing a confession

for murder by intimidation, threats, and inducements. GUEVARA told Rivera that if he

confessed he would serve seven years in prison whereas if he did not confess, he would be sent

away for fifty years. GUEVARA then promised Rivera that if he signed a statement, he could go

home.

        123.     In 1991, Defendant GUEVARA coerced a false confession from Daniel

Rodriguez through the use of threats and intimidation. While en route to the police station,

GUEVARA threatened to harm Rodriguez’s family if he did not cooperate. Once at Area 5,

Rodriguez was chained to a wall, denied food, water, and use of a restroom, and beaten by

GUEVARA’s partner, Defendant HALVORSEN in the chest and torso. GUEVARA provided

details of the crime to Rodriguez to include in Rodriguez’s false confession.




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       124.    In 1992, Defendant GUEVARA engaged in misconduct when he interrogated

Jacqueline Montanez without a youth officer present. The appellate court reversed and remanded

Ms. Montanez’s conviction for murder, noting that “not only was defendant interrogated before

having an opportunity to confer with a concerned adult, but, worse, any opportunity to do so was

effectively frustrated by police.”

       125.    In 1993, Defendant GUEVARA arrested fifteen year old Eliezar Cruzado and

threatened him with life imprisonment if he did not make a statement implicating himself in a

murder. GUEVARA also told Cruzado that he could go home and see his family again, but only

if he agreed to make a statement. At the time, Cruzado had a limited ability to read and write.

       126.    In 1993, Defendant GUEVARA used physical force and threats to coerce a false

confession from Adolfo Frias-Munoz. Over the course of a two-day interrogation, Frias-Munoz

was handcuffed to a ring on the wall of the interrogation room, hit in the face with an open hand

by Defendant GUEVARA, and beaten by two other officers. Though isolated in a locked

interrogation room, Frias-Munoz could hear his wife screaming and his son crying in another

room. GUEVARA threatened Frias-Munoz that if he did not confess, his wife would go to prison

and his children would be taken away. Frias-Munoz, who did not speak English, agreed to give a

statement to an assistant state’s attorney. Frias-Munoz spoke in Spanish and GUEVARA

translated the statement so that the prosecutor could write the statement in English. Frias-Munoz

then signed a statement he could not read.

       127.    In 1994, Defendant GUEVARA, after 14 hours of interrogation, coerced a

confession from Adrian Duta by hitting him in the face with an open palm, punching him in the

stomach, and telling him he could go home if he signed a statement. When Duta’s father came to

see Duta at the station house, Duta was exhausted and crying and repeatedly said that he did not




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know what he had signed and had only signed the document so he could go home. Duta

complained to his father of being struck in the head and stomach by GUEVARA.

       128.    In 1995, Defendants GUEVARA and HALVORSEN coerced a confession from 17-

year-old Santos Flores after handcuffing him to the wall of a locked interview room and refusing

his requests for an attorney. During the course of the 11-hour interrogation, GUEVARA yelled at

him, slapped him numerous times on the side of his head, and told him that if he did not confess

he would never see the light of day. Flores eventually gave a statement to the police indicating his

involvement in the crime. Flores’s statement was ruled inadmissible on appeal on the grounds that

it was elicited in violation of Miranda.

       129.    In 1997, Defendant GUEVARA coerced a false confession from Voytek Dembski

by beating him while chained to a wall in a locked interrogation room. Dembski, a Polish National

who did not speak English, was interrogated by GUEVARA without Miranda warnings, without

notification to the Polish consulate, and without a Polish language interpreter. Dembski could not

read the statement he eventually signed as it was written in English.

       130.    In 1998, Defendant GUEVARA repeatedly hit Rosauro Mejia in an attempt to

coerce a confession from him. Rosauro never confessed and was finally released after being held

in custody for three days.

       131.    In 1998, Defendant GUEVARA repeatedly pulled Adriana Mejia’s hair and struck

her once on the back of her neck while she was interrogated.

       132.    In 1998, Defendant GUEVARA repeatedly threatened and beat Arturo Reyes in an

attempt to unconstitutionally coerce Reyes into giving an incriminating statement. After two

days of isolation and interrogation, Reyes provided a false statement.




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       133.    In 1998, Defendant GUEVARA repeatedly struck Gabriel Solache on the left side

of his head and in the stomach while Solache was chained to the wall of a locked interrogation

room. After 40 hours of interrogation, Solache gave a false statement so the beating would stop.

Solache sought medical treatment and sustained permanent hearing loss to his left ear.

       134.    Reyes and Solache were also exonerated last year and released from prison.

                                       Plaintiff’s Damages

       135.    Plaintiff has suffered and continues to suffer enormous physical and

psychological injury as a direct and proximate result of the Defendants’ misconduct. Plaintiff

faced the risk of being executed for a crime he did not commit after having been found eligible

for the death penalty. Plaintiff spent 23 years of his life imprisoned for crimes that he did not

commit. He woke up each day with this reality, not knowing whether he would see his family or

child again outside prison property or ever successfully prove the wrongfulness of his conviction

and incarceration.

       136.    Over the course of his 23 years of imprisonment, Plaintiff was separated from his

daughter who was only six months old when he was incarcerated. Plaintiff lost the chance to

raise, care for, and mentor his child who was a grown woman by the time Plaintiff was released

from prison.

       137.    As a result of Defendants’ actions, Plaintiff continues to experience physical and

psychological pain and suffering, humiliation, constant fear and anxiety, deep depression,

despair, rage, and other physical and psychological effects from his years of wrongful

conviction.




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                                           COUNT I
                    42 U.S.C. § 1983 – Due Process: Fabrication of Evidence

        138.    Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

set forth herein.

        139.    As more fully described above, all of the individual Police Officer Defendants,

acting individually, jointly, and in conspiracy, as well under color of law and within the scope of

their employment, deprived Plaintiff of his constitutional right to a fair trial, in violation of the

Fifth and Fourteenth Amendments by fabricating Grande and Saez’s statements about the

shooting and testifying falsely about the witnesses’ statement, as well as fabricating other

evidence.

        140.    According to a plan devised by the defendant officers, Defendant OLSZEWSKI

falsely arrested Plaintiff for the sole purposes of obtaining a Poloroid photo of him that would be

used to unlawfully influence and manipulate Grande and Saez for the purpose of securing a false

identification of Plaintiff.

        141.    In the manner described more fully above, Defendants fabricated, coerced,

manipulated and/or solicited false testimony from Saez and Grande implicating Plaintiff in the

crimes that they knew he did not commit; falsified police reports; obtained Plaintiff’s conviction

using false evidence; and failed to correct fabricated evidence that they knew to be false when it

was used against Plaintiff at his criminal trial. Defendant HALVORSEN was primarily

responsible for authoring the police reports that contained false statements by the witnesses and

omitted the suggestive and improper tactics utilizes to induce fale identifications from the

witnesses.

        142.    The defendant officers knowing and intentionally fed false statements to Grande

and Saez prior to Plaintiff’s arrest and subsequent charging.



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        143.    The Police Officer Defendants concealed and fabricated additional evidence that

is not yet known to Plaintiff.

        144.    Absent this misconduct, Plaintiff would not have been wrongfully convicted of

the murders of Merkes and Rodriguez and attempt murders of Grande and Saez. Thus, the Police

Officer Defendants’ misconduct deprived Plaintiff of his constitutional right to a fair trial and

directly resulted in Plaintiff’s wrongful conviction.

        145.    The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice, with reckless indifference to the rights of others, and in

total disregard of the truth and Plaintiff’s clear innocence.

        146.    As a direct and proximate result of this deprivation of his constitutional right to a

fair trial, Plaintiff suffered injuries, including but limited to loss of liberty, great mental anguish,

humiliation, degradation, emotional pain and suffering, and other grievous and continuing

injuries and damages.

        147.    The misconduct described above in this Count by the Defendant officers was

undertaken pursuant to the policy and practice of the Chicago Police Department, in the manner

more fully described below in Count VI.

                                             COUNT II
                                 42 U.S.C. § 1983 – Brady Violations

        148.    Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

set forth herein.

        149.    As described in detail above, all of the individual Police Officer Defendants,

acting individually, jointly, and in conspiracy, as well under color of law and within the scope of

their employment, deprived Plaintiff of his constitutional right to a fair trial, in violation of the




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Fifth and Fourteenth Amendments by withholding and suppressing exculpatory evidence from

Plaintiff and the prosecution.

        150.    The Police Officer Defendants also continued to suppress exculpatory evidence

after Plaintiff’s conviction, including during an evidentiary hearing on Plaintiff’s original post-

conviction petition. Had this exculpatory evidence been disclosed, Plaintiff would not have spent

23 years in prison for a crime he did not commit.

        151.    The misconduct described above was objectively unreasonable and was

undertaken intentionally, with malice, willful indifference to Plaintiff’s constitutional rights and

in total disregard of the truth and Plaintiff’s clear innocence.

        152.    As a direct and proximate result of this deprivation of his constitutional right to a

fair trial, Plaintiff suffered injuries, including but limited to loss of liberty, great mental anguish,

humiliation, degradation, emotional pain and suffering, and other grievous and continuing

injuries and damages.

        153.    The misconduct described above in this Count by the Defendant officers was

undertaken pursuant to the policy and practice of the Chicago Police Department, in the manner

more fully described below in Count VI.

                                           COUNT III
                             42 U.S.C. § 1983 – Malicious Prosecution

        154.    Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

set forth herein.

        155.    In manner more fully described above, the Defendant officers, acting individually,

jointly, and in conspiracy, as well under color of law and within the scope of their employment,

deprived Plaintiff of his Fourth and Fourteenth Amendment constitutional rights.




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       156.    The Defendant officers accused Plaintiff of criminal activity and exerted influence

to initiate, continue, and perpetuate judicial proceedings against Plaintiff without any probable

cause for doing so, in violation of his rights secured by the Fourth Amendment and the

procedural and substantive due process components of the Fourteenth Amendment.

       157.    In so doing, the Defendant officers caused Plaintiff to be unreasonably seized and

improperly subjected to judicial proceedings for which there was no probable cause. These

judicial proceedings were instituted and continued maliciously, resulting in injury, and in all

such proceedings were ultimately terminated in Plaintiff’s favor indicative of his innocence.

       158.    The Defendant officers subjected Plaintiff to unauthorized and arbitrary

governmental action that shocks the conscience in that Plaintiff was deliberately and

intentionally framed for a crime of which he was totally innocent, through the Defendant

officers’ fabrication, suppression, and withholding of evidence.

       159.    The misconduct described above was objectively unreasonable and was

undertaken intentionally, with malice, willful indifference to Plaintiff’s constitutional rights and

in total disregard of the truth and Plaintiff’s clear innocence.

       160.    As a direct and proximate result of this deprivation of his constitutional right,

Plaintiff suffered injuries, including but limited to loss of liberty, great mental anguish,

humiliation, degradation, emotional pain and suffering, and other grievous and continuing

injuries and damages.

       161.    The misconduct described above in this Count by the Defendant officers was

undertaken pursuant to the policy and practice of the Chicago Police Department, in the manner

more fully described below in Count VI.




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                                           COUNT IV
                                  42 U.S.C. § 1983 – Conspiracy

         162.   Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

set forth herein.

         163.   All of the individual Police Officer Defendants and other co-conspirators, known

and not yet known to Plaintiff, reached an agreement amongst themselves to coerce, induce, and

fabricate false evidence in the form of witness statements and testimony for the purpose of

framing Plaintiff for a crime he did not commit.

         164.   All of the individual Police Officer Defendants and other co-conspirators, known

and not yet known to Plaintiff, reached an agreement amongst themselves to deprive Plaintiff of

material exculpatory evidence and information to which he was lawfully entitled and to conceal

their misconduct from Plaintiff, all in violation of Plaintiff’s constitutional rights, as described

above.

         165.   In this manner, the Police Officer Defendants, acting in concert with other known

and unknown co-conspirators, conspired to accomplish an unlawful purpose by an unlawful

means.

         166.   In furtherance of the conspiracy, each of the co-conspirators committed overt acts

and was an otherwise willful participant joint activity.

         167.   The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally and with willful indifference to Plaintiff’s constitutional rights.

         168.   As a direct and proximate result of this of this illicit agreement referenced above,

Plaintiff suffered injuries, including but limited to loss of liberty, great mental anguish,

humiliation, degradation, emotional pain and suffering, and other grievous and continuing

injuries and damages.



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        169.    The misconduct described above in this Count by the Defendant officers was

undertaken pursuant to the policy and practice of the Chicago Police Department, in the manner

more fully described below in Count VI.

                                            COUNT V
                              42 U.S.C. § 1983 – Failure to Intervene

        170.    Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

set forth herein.

        171.    In the manner described above, one or more of the individual Police Officer

Defendants, and other unknown individuals, stood by without intervening to prevent the alleged

constitutional violations, despite having an opportunity to do so.

        172.    The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice, with willful indifference to Plaintiff’s constitutional rights,

and in total disregard of the truth and Plaintiff’s innocence.

        173.    As a direct and proximate result of this failure to intervene to prevent the violation

of Plaintiff’s constitutional rights, Plaintiff suffered injuries, including, but not limited to, loss of

liberty, great mental anguish, humiliation, degradation, emotional pain and suffering, and other

grievous and continuing injuries and damages.

        174.    The misconduct described above in this Count by the Defendant officers was

undertaken pursuant to the policy and practice of the Chicago Police Department, in the manner

more fully described below in Count VI.

                                            COUNT VI
                              42 U.S.C. § 1983 – Monell Policy Claim

        175.    Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

set forth herein.




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       176.    The Chicago Police Department is responsible for scores of miscarriages of

justice. Since 1986, no fewer than 75 documented cases have come to light in which Chicago

Police Detectives amassed “evidence” against an innocent person for a serious crime that he did

not commit. There are undoubtedly many more such cases that have not yet been discovered.

       177.    The false charges against innocent people include numerous cases in which

Chicago Police Officers used the very same tactics that Defendants GUEVARA, HALVORSEN,

OLSHEWSKI and MINGEY employed against Plaintiff in this case, including: (1) concealment

of exculpatory evidence; (2) manipulation of witnesses in order to obtain false identifications; (3)

manipulation of witnesses in order to influence their testimony; (4) procuring false witness

testimony from detainees and “jailhouse snitches” and (5) the use of other tactics to secure the

arrest, prosecution and conviction of a person without regard to his actual guilt or innocence of

the offense.

       178.    The Chicago Police Department systemically targeted Latino men from the

Humboldt Park Area for wrongful conviction. It was nothing short of genocide with cooperation

from the Cook County States’ Attorney’s office and complicity from the judiciary that did not

question even the most dubious evidence.

       179.    At all times relevant hereto, members of the Chicago Police Department,

including but not limited to the Defendants in this action, systematically suppressed exculpatory

and/or impeaching material by intentionally secreting discoverable reports, memos and other

information in files that were maintained solely at the police department and were not disclosed

to the participants of the criminal justice system. As a matter of widespread custom and practice,

these clandestine files were withheld from the State’s Attorney’s Office and from criminal




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defendants, and they were routinely destroyed at the close of the investigation, rather than being

maintained as part of the official file.

        180.    Consistent with the municipal policy and practice described in the preceding

paragraph, employees of the City of Chicago, including but not limited to the named Defendants,

concealed exculpatory evidence from Plaintiff.

        181.    At all times relevant hereto, members of the Chicago Police Department,

including but not limited to the Defendants in this action, routinely manipulated, tricked, lied to,

and misled witnesses for the purpose of influencing their testimony to conform to a false

narrative contrived by the officers themselves. As a matter of widespread practice and custom,

these tactics were also used to induce false identifications of suspects.

        182.    Consistent with the municipal policy and practice described in the preceding

paragraph, employees of the City of Chicago, including but not limited to the named Defendants,

manipulated, tricked, and improperly influenced the testimony of the two living victims in this

case, Jacqueline Grande and Kennelly Saez. In the case of Saez, the defendants failed to disclose

that Saez had been tacitly promised a “get out of jail free” card in exchange for his testimony

against Plaintiff.

        183.    The City of Chicago and the Chicago Police Department has failed to investigate

any of the cases in which Chicago Police Detectives recommended charging an innocent person

with a serious crime, and no Chicago Police Officer has ever been disciplined as a result of his

misconduct in any of those cases.

        184.    Prior to and during 1994, the year in which Plaintiff was falsely charged with the

Merkes and Rodriguez murders, the City of Chicago operated a dysfunctional disciplinary

system for Chicago Police Officers accused of serious misconduct. The Former Chicago Police




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Officer of Professional Standards almost never imposed significant discipline against police

officers accused of violating the civil and constitutional rights of members of the public. The

Chicago Police disciplinary apparatus included no mechanism for identifying police officers who

were repeatedly accused of engaging in the same type of misconduct.

       185.    As a matter of both policy and practice, municipal policy makers and department

supervisors condoned and facilitated a code of silence with the Chicago Police Department. In

accordance with this code, officers refused to report and otherwise lied about misconduct

committed by their colleagues, including the misconduct at issue in this case.

       186.    As a result of the City of Chicago’s established practice of not tracking and

identifying police officers who are repeatedly accused of the same kinds of serious misconduct,

failing to investigate cases in which the police are implicated in a wrongful charge or conviction,

failing to discipline officers accused of serious misconduct and facilitating a code of silence

within the Chicago Police Department, officers (including the Defendants here) have come to

believe that they may violate the civil rights of members of the public and cause innocent

persons to be charged with serious crimes without fear of adverse consequences. As a result of

these policies and practices of the City of Chicago, members of the Chicago Police Department

act with impunity when they violate the constitutional and civil rights of citizens

       187.    The defendant officers have a long history of engaging in the kind of investigative

misconduct that occurred in this case, including the manipulation of witnesses, fabrication of

evidence, and concealment of evidence in the course of maliciously prosecuting innocent

persons. There are approximately 40 known cases in which GUEVARA and HALVORSEN have

engaged in serious investigative misconduct, including many cases in which they have

manipulated and coerced witnesses and fabricated and concealed evidence, as he did in this case.




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GUEVARA engaged in such misconduct because he had no reason to fear that the City of

Chicago and its Police Department would ever discipline him for doing so.

       188.    The City of Chicago and its Police Department failed in 1994 and in the years

prior to provide adequate training to Chicago Police Detectives and other officers in any of the

following areas, among others:

               a.     The constitutional requirement to disclose exculpatory evidence, including

                      how to identify such evidence and what steps to take when exculpatory

                      evidence has been identified in order to ensure that the evidence is made

                      part of the criminal proceeding.

               b.     The need to refrain from manipulation or potentially coercive conduct in

                      relation to witnesses.

               c.     The risks associated with relying on testimony from “jailhouse snitches.”

               d.     The risks of wrongful conviction and the steps police officers should take

                      to minimize risks.

               e.     The risks of engaging in tunnel vision during investigation.

               f.     The need for full disclosure, candor, and openness on the part of all

                      officers who participate in the police disciplinary process, both as

                      witnesses and as accused officers, and the need to report misconduct

                      committed by fellow officers.

       189.    The need for police officers to be trained in these areas was and remains obvious.

The City of Chicago’s failure to train Chicago Police Officers as alleged in the preceding

paragraph proximately caused Plaintiff’s wrongful conviction and his injuries.




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       190.    The City’s failure to train supervise and discipline its officers, including repeat

offenders such as Defendants GUEVARA and HALVORSEN, effectively condones, ratifies, and

sanctions the kind of misconduct that the Police Officer Defendants committed against Plaintiff

in this case. Constitutional violations such as occurred in this case are encouraged and facilitated

as a result of the City’s practices and de facto polices, as alleged above.

       191.    The City of Chicago and officials within the Chicago Police Department failed to

act to remedy the patterns of abuse described in the preceding paragraphs, despite actual

knowledge of the pattern of misconduct. They thereby perpetuated the unlawful practices and

ensured that no action would be taken (independent of the judicial process) to remedy Plaintiff’s

ongoing injuries.

       192.    The policies and practices described in the foregoing paragraphs were consciously

approved by the City of Chicago policymakers who were deliberately indifferent to the

violations of constitutional rights described herein.

       193.    The actions of all of the individual Police Officer Defendants were done pursuant

to policies and practices of the Chicago Police Department were done pursuant to one or more

interrelated de facto policies, practices and/or customs of the Defendant City of Chicago which

were ratified by policymakers for the City of Chicago with final policymaking authority. These

policies and practices included, among others:

               a.      conducting physically and psychologically or otherwise illegal or

                       improperly coercive interrogations of witnesses in order to obtain false

                       statements and wrongful convictions.

               b.      manufacturing and fabricating false witness statements, and manipulating

                       and lying to witnesses to influence unreliable and inaccurate testimony.




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        c.    filing false reports and giving false statements and testimony about

              interrogations and witness interviews or constructing parts or all of

              witness statements; suppressing evidence concerning interrogations and/or

              witness interviews; pursuing and obtaining wrongful prosecutions and

              false imprisonments on the basis of fabricated witness statements,

              including those by “jailhouse snitches;” and otherwise covering up the true

              nature of those interviews and/or interrogations.

        d.    failing to properly train, supervise, discipline, transfer, monitor, counsel

              and/or otherwise control police officers, particularly those who are

              repeatedly accused of misconduct, on how to avoid false arrests, wrongful

              imprisonments, malicious prosecutions, and wrongful convictions, and on

              the proper manner in which to conduct interrogations of witnesses and

              arrestees. Among those the City failed to properly train, supervise,

              discipline, transfer, monitor, counsel and/or otherwise control were the

              repeat offenders Defendants GUEVARA and HALVORSEN.

        e.    perpetuating, encouraging and condoning the police code of silence,

              specifically in cases where officers engaged in the violations articulated in

              paragraphs a-d above, whereby police officers refused to report or

              otherwise covered-up instances of police misconduct, and/or fabricated,

              suppressed and destroyed evidence of which they were aware, despite

              their obligation under the law and police regulations to report. This code

              of silence caused police officers either to remain silent or give false and

              misleading information during official investigations and Grand Jury




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                        proceedings in order to protect themselves or fellow officers from

                        discipline, civil liability, or criminal charges. The code of silence also

                        caused police officers to perjure themselves in criminal cases where they

                        and their fellow officers have fabricated evidence or concealed

                        exculpatory evidence.

        194.    The policies and practices described in this Count and in the factual allegations

section of this Complaint were maintained and implemented by the City of Chicago with

deliberate indifference to Plaintiff’s constitutional rights.

        195.    As a direct and proximate result of the City’s actions, Plaintiff suffered injuries,

including, but not limited to, emotion distress, as if more fully alleged above.

        196.    The City of Chicago is therefore liable for the misconduct committed by the

Police Officer Defendants.

                                         COUNT VII
                            State Law Claim – Malicious Prosecution

        197.    Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

set forth herein.

        198.    All of the individual Defendants caused Plaintiff to be improperly subjected to

judicial proceedings for which there was no probable cause. These judicial proceedings were

instituted and continued with malice and resulted in the injury to Plaintiff. All such proceedings

were ultimately terminated in Plaintiff’s favor and in a manner indicative of innocence.

        199.    The Defendants accused Plaintiff of murdering Merkes and Rodriguez, knowing

that he was innocent of the crime. All of the individual defendants fabricated evidence,

manipulated witness testimony, and withheld exculpatory evidence. The individual Defendant




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officers knowingly made false statements to prosecutors with the intent of exerting influence to

institute and continue judicial proceedings against Plaintiff.

        200.    The misconduct described in this Count was undertaken with malice, willfulness

and reckless indifference to Plaintiff’s rights.

        201.    As a direct and proximate result of this misconduct, Plaintiff suffered injuries,

including, but not limited to, emotional distress, as is more fully alleged above.

                                         COUNT VIII
                               State Law Claim – Civil Conspiracy

        202.    Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

set forth herein.

        203.    As described more fully in the preceding paragraphs, the individual Defendant

officers acting in concert with one another and other co-conspirators, known and unknown,

conspired to accomplish an unlawful purpose by unlawful means.

        204.    In furtherance of the conspiracy, the Defendants committed overt acts and were

otherwise willing participants in joint activity.

        205.    The misconduct described in this Count was undertaken with malice, willfulness

and reckless indifference to Plaintiff’s rights.

        206.    As a direct and proximate result of this misconduct, Plaintiff suffered injuries,

including, but not limited to, emotional distress, as is more fully alleged above.

                                        COUNT IX
                State Law Claim – Intentional Infliction of Emotional Distress

        207.    Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

set forth herein.




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          208.   The acts and conduct of the individual Defendants as set forth above were

extreme and outrageous. The Defendants intended to cause, or were in reckless disregard of the

probability that their conduct would cause sever, emotional distress to Plaintiff.

          209.   The individual Defendants’ actions and conduct directly and proximately caused

severe emotional distress to Plaintiff, and thereby constituted intentional infliction of emotional

distress.

          210.   The misconduct described in this Count was undertaken with malice, willfulness

and reckless indifference to Plaintiff’s rights.

          211.   As a direct and proximate result of Defendants’ wrongful acts, Plaintiff suffered

injuries, including, but not limited to, emotional distress, as is more fully alleged above.

                                           COUNT X
                             State Law Claim – Respondeat Superior

          212.   Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

set forth herein.

          213.   When they committed the acts alleged in this Complaint, the individual Defendant

officers were members and agents of the Chicago Police Department, an agency of the City of

Chicago, acting at all relevant times within the scope of their employment and under color of

law.

          214.   Defendant City of Chicago is liable as principal for all torts committed by its

agents.

                                           COUNT XI
                                State Law Claim – Indemnification

          215.   Plaintiff repeats and re-alleges all of the paragraphs in this Complaint as if fully

set forth herein.




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       216.    Illinois law provides that public entities must pay any tort judgment for

compensatory damages for which its employees are liable based on upon the employees’

misconduct committed within the scope of their employment activities.

       217.    The individual Defendant officers are or were employees of the Chicago Police

Department, an agency of the City of Chicago, who acted within the scope of their employment

in committing the misconduct described herein.

       WHEREFORE, Plaintiff Roberto Almodovar, Jr. prays this Court enter judgment in his

favor and against Defendants Reynaldo GUEVARA, Ernest HALVORSEN, Mark OLSZESKI,

Edward MINGEY, and the City of Chicago, awarding compensatory damages, costs and

attorneys’ fees against all Defendants, and punitive damages against each of the individual

Defendants in their individual capacities; and for such further and additional relief as this Court

may deem appropriate and just.

                                          JURY DEMAND

       Plaintiff demands trial by jury.



                                                      Respectfully Submitted,

                                                      ROBERTO ALMODOVAR, JR.

                                              By:      /s/JENNIFER BONJEAN
                                                             His Attorney

Jennifer Bonjean
Bonjean Law Group, PLLC
1000 Dean St., Ste. 422
Brooklyn, New York 11238
718-875-1850




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